The Honorable Rebecca McDowell Cook Missouri Secretary of State State Capitol Building Jefferson City, MO 65101
Dear Secretary Cook:
This opinion letter is in response to your request for our review under Sections 116.332 and 116.334, RSMo 1994, for sufficiency as to form of an initiative petition relating to changes in Chapter 290, RSMo. The proposed changes address the minimum wage. A copy of the initiative petition which you submitted to this office on January 5, 1996, is attached for reference. To distinguish this initiative petition from others submitted on the same topic on the same date, this initiative petition has been designated as A2.
We conclude the petition must be rejected as to form for the following reason:
1. The second section proposed for enactment is headed "Section 2. Prior Inconsistent Law Repealed." The first sentence under such section heading proposes the repeal of Section 290.500
(3)(d). However, a second sentence follows, "[n]othing in this statute shall preclude the legislature or any municipality from raising or expanding the coverage of the minimum wage." The second sentence apparently is intended to be enacted. We decline to approve the section heading because it does not fairly reflect the apparent intended enactment of this second sentence.
Because of our rejection of the form of the petition for the reason stated above, we have not reviewed the petition to determine if additional deficiencies exist.
Very truly yours,
                                  JEREMIAH W. (JAY) NIXON Attorney General
Enclosure